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                                                                            2019 Feb-08 AM 09:46
                                                                            U.S. DISTRICT COURT
                                                                                N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                     NORTHEASTERN DIVISION


ALEXANDER J. HARRIS,                    }
                                        }
      Plaintiff,                        }
                                        }
v.                                      }   Case No.: 5:16-cv-1493-LCB
                                        }
LINCOLN NATIONAL LIFE                   }
INSURANCE CO.,                          }
                                        }
      Defendant.                        }
                                        }

                   MEMORANDUM OPINION AND ORDER

      This matter comes before the Court on Defendant Lincoln National Life

Insurance Co.’s (“Lincoln”) and Plaintiff Alexander Harris’s cross motions for

Summary Judgment. (respectively Doc. 40, & 28), and Lincoln’s former motion

for summary judgment (Doc. 12) which has now been superseded. This action

involves an employer provided insurance policy and is subject to the Employee

Retirement Income Security Act of 1974, 29 U.S.C. §§ 1001, et seq. (“ERISA”).

      Mr. Harris broke his leg and his leg later became infected, would not heal

and had to be amputated. He filed a claim under two group accidental

dismemberment insurance policies issued by Lincoln. The policies cover

accidental dismemberment and exclude coverage where disease was a contributing

cause of the loss. Lincoln denied the claim asserting that Mr. Harris’s injury
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resulted from a bone disease brought on by previous radiation treatment he had

undergone to treat cancer.

          Mr. Harris filed a two count Complaint against Lincoln including: (i) a claim

for dismemberment benefits; and (ii) a claim asserting wrongful withholding of

documents related to Lincoln’s denial of the dismemberment claim. Both Lincoln

and Mr. Harris have each separately moved for summary judgment on both claims.

(respectively, Doc. 40, & 28.) Lincoln’s recently filed reformatted motion (Doc.

40), replaces its previously filed motion (Doc. 12).

          For the reasons stated below, Lincoln’s Motion for Summary Judgment

(Doc. 12) is due to be DENIED as superseded, Lincoln’s Reformatted Motion for

Summary Judgment (Doc. 40) is due to be GRANTED, and Mr. Harris’s Motion

for Summary Judgment (Doc. 28) is due to be DENIED.

I.        FACTUAL BACKGROUND

          A. The Relevant Insurance Policies

          On January 1, 2014, Lincoln issued two insurance policies to Mr. Harris’s

employer, QinetiQ North America, Inc. (“QinetiQ”). AR 000018, AR 000105. 1

The policies included one identified as “Group Insurance Policy No. 00001018133

Providing Life Insurance Accidental Death and Dismemberment Insurance

Dependent Life Insurance,” AR 000018, which described itself as providing “Basic


1
    Citations to “AR” refer to the Administrative Record.
                                                  2
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Life and AD&D Insurance” (the “Basic Policy”), AR 000023. The other policy is

titled “Group Insurance Policy No. GL 000403002643 Providing Voluntary

Accidental Death and Dismemberment Insurance” (the “Voluntary Policy”). AR

000111.

      The Basic Policy provides a dismemberment benefit for accidental injuries.

AR 000065. The Basic Policy, however, excludes coverage of those losses that

resulted from other contributing causes including disease. AR 000065. The Basic

Policy provides in relevant part:

      DEATH OR DISMEMBERMENT BENEFIT FOR AN INSURED
      PERSON. The Company will pay the benefit listed below if:

           (1) an Insured Person sustains an accidental bodily injury while
               insured under this provision; and

           (2) that injury directly causes one of the following losses within
               365 days after the date of the accident.

      The loss must result directly from the injury and from no other causes.

              ...

      LIMITATIONS. Benefits are not payable for any loss to which a
      contributing cause is:

              ...

         (2) disease, bodily or mental infirmity, or medical or surgical
      treatment of disease.

AR 000065 (underlined emphasis added).



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      Similarly, the Voluntary Policy provides a dismemberment benefit for

accidental injuries. AR 000130. The Voluntary Policy also excludes coverage of

those losses that resulted from other contributing causes including disease. AR

000137. The Voluntary Policy provides in relevant part:

      DEATH OR DISMEMBERMENT BENEFIT FOR AN INSURED
      PERSON. The Company will pay the benefit listed below if:

            (1) an Insured Person sustains an accidental bodily injury
                while insured under this provision; and

            (2) that injury directly causes one of the following losses within
                365 days after the date of the accident.

      The loss must result directly from the injury and from no other causes.

            ...

      EXCLUSIONS. No benefit will be paid for loss resulting from:

            ...

        (6) sickness, disease or bodily infirmity; except for:

           (a) a bacterial infection resulting from an accidental cut or
      wound; or

            (b) the accidental ingestion of a poisonous food substance; . . . .

AR 000130, AR 000137 (underlined emphasis added). The Basic Policy and the

Voluntary Policy (collectively, the “Policies”) both provided that an insured could

recover “1/2 Principal Sum” for the “Loss of One Member” which included the

loss of a foot. AR 000065; AR 000130.


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      The claim procedures for both Policies are included in the respective policy

document. See AR 000062; AR 000143. Both Policies provide that: “Written

notice of an . . . dismemberment claim must be given within 20 days after the loss

occurs; or as soon as reasonably possible after that.” AR 000062; AR 000143.

Once a claim is received, Lincoln was obligated to send a claims form to the

claimant so that he could submit the requisite proof of loss. Id. The claimant then

submits to Lincoln proof of his claim including information that shall “state the

nature, date and cause of the loss.” Id. In addition to the returning the claim, the

claimant is required to include other materials that Lincoln “may reasonably

require in support of the claim.” Id.

      The Policies, in a section titled, “Company’s Discretionary Authority,” grant

Lincoln the authority to determine a claimant’s entitlement to benefit:

      COMPANY’S DISCRETIONARY AUTHORITY. Except for the
      functions that this Policy clearly reserves to the Group Policyholder or
      Employer, the Company has authority to:

      (1)    manage this Policy and administer claims under it; and

      (2)    interpret the provisions and resolve questions arising under this
             Policy.

      The Company’s authority includes (but is not limited to) the right to:

      (1) establish and enforce procedures for administering this Policy and
          claims under it;

      (2) determine Employees’ eligibility for insurance and entitlement to
          benefits;

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       (3) determine what information the Company reasonably requires to
           make such decisions; and

       (4) resolve all matters when a claim review is requested.

AR 000064; AR 000145. The Polices require Lincoln to send the claimant written

notice of its decision, and, in case of a denial, Lincoln is required to explain “the

reason for the denial . . . ;” “how the claimant may request a review of the

Company’s decision;” and “whether more information is needed to support the

claim.” AR 000063; AR 000144.

       In the Summary Plan Descriptions for each plan, the Policies designate

QinetiQ as the Plan Administrator. AR 000107; AR 000166.

       B. Mr. Harris’s Accident and Subsequent Treatment

       On August 14, 2014, Mr. Harris had an accidental injury. (Doc. 42, p. 3,

¶ 4.) In his Dismemberment Claim Form (signed December 23, 2014), Mr. Harris

wrote that: “I was walking in my yard and when I put my foot down my left tibia

broke in several pieces.” AR 004544. 2 Mr. Harris “went to Huntsville Hospital’s

emergency room where X-ray films revealed a non-displaced 3 fracture of his left




2
  Mr. Harris’s Dismemberment Claim form states the date was August 16, 2014. AR 004544. Mr.
Harris’s Complaint states that the accident occurred on August 14, 2014. (Doc. 1, p. 3, ¶ 8.) The
specific date when Mr. Harris’s accident occurred has no bearing on the outcome of the Court’s
decision.
3
  The term “non-displaced” is described as:


                                               6
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tibia.” AR 004322. According to Mr. Harris’s attorney, Eric Artrip, the hospital’s

records stated: “‘Labs do not reveal evidence of recurrent cancer.’” Id. At the

hospital, “[Mr. Harris] was placed in a cast and advised to follow up with his

physician.” Id.

    • On August 19, 2014, Mr. Harris consulted with Dr. Robert A. Maples. AR

        003636. Dr. Maples stated that he would “over wrap [Mr. Harris’s] short leg

        splint into a sort leg cast[,]” and would “discuss the case with Dr. Ginger

        Holt at Vanderbilt University with regards to treatment options going

        forward.” Id. In his progress notes, Dr. Maples wrote: “Mr. Harris is a 45

        year-old gentleman who has a history of malignant fibrous histiocytoma 4 in

        his left leg with radiation and soft tissue coverage who sustained a fall while



       There are many types of fractures, but the main categories are displaced, non-
       displaced, open, and closed. Displaced and non-displaced fractures refer to the
       alignment of the fractured bone.

       In a displaced fracture, the bone snaps into two or more parts and moves so that the
       two ends are not lined up straight. If the bone is in many pieces, it is called a
       comminuted fracture. In a non-displaced fracture, the bone cracks either part or all of
       the way through, but does move and maintains its proper alignment.

Carol DerSarkissian (reviewer), Understanding Bone Fractures – the Basics, WebMD (Oct. 29,
2017), https://www.webmd.com/a-to-z-guides/understanding-fractures-basic-information
4
   Histiocytoma is defined as: “a tumor containing histiocytes.” Histiocytoma. Dorland’s
Illustrated Medical Dictionary (32nd ed. 2012). Malignant fibrous histiocytoma is defined as
“any of a group of malignant neoplasms found mainly in soft tissues in middle-aged adults;
depending on the tumor location and the classification system, the term is sometimes used
synonymously with or as a general term including similar lesions such as atypical fibroxanthoma
and dermatofibrosarcoma protuberans. Malignant fibrous histiocytoma, Dorland’s Illustrated
Medical Dictionary (32nd ed. 2012). Neoplasm is defined as: “New growth; tumor.” Neoplasm,
Steadman’s Medical Dictionary (5th ed. 1984).
                                                 7
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        running resulting in a left tibia fracture on 8/14/14.” AR 003636 (emphasis

        added).

    • On August 26, 2014, Mr. Harris met with Dr. Holt. AR 002610. Dr. Holt

        prepared a letter in which she stated: “I am seeing this very pleasant 45-

        year-old gentleman in consultation at your request for a pathologic 5 fracture

        of the left tibia secondary6 to radiation necrosis. 7 Alex’s history dates back

        to 2001 where he had a malignant fibrous histiocytoma resected 8 on

        10/08/2001. . . . He had radiation therapy for a total of 60 gray9 completed

        on 01/31/2002.” AR 002610 (emphasis added). She noted that he had

        “wound healing issues,” but, after undergoing ten surgeries, his wound

        finally healed. Id. She noted that Mr. Harris’s x-rays “shows the shattered

        bone fracture, radiation necrosis . . . .” AR 002610 (emphasis added). She


5
  Pathologic is defined as: “Pertaining to pathology; morbid; diseased; resulting from disease.”
Pathologic, Steadman’s Medical Dictionary (5th ed. 1984).
6
  The word “secondary” is used to denote the cause of something, the word is defined as “derived
from or consequent to a primary event or thing.” Secondary, Dorland’s Illustrated Medical
Dictionary (32nd ed. 2012).
7
  Radiation necrosis is defined as: “The death of healthy tissue caused by radiation therapy.
Radiation necrosis is a side effect of radiation therapy given to kill cancer cells, and can occur
after cancer treatment has ended.” Radiation Necrosis, National Cancer Institute Dictionary of
Cancer Terms (available at: https://www.cancer.gov/publications/dictionaries/cancer-
terms/def/radiation-necrosis).
8
  Resect means “to remove part or all of an organ or tissue.” Resect, Dorland’s Illustrated
Medical Dictionary (32nd ed. 2012).
9
  The word “gray” refers to how much radiation Mr. Harris received. The word “Gray” is defined
as: “The international system (SI) unit of radiation dose expressed in terms of absorbed energy
per unit mass of tissue. The gray is the unit of absorbed dose and has replaced the rad. 1 gray = 1
Joule/kilogram and also equals 100 rad.” Radiation Terms and Definitions, Specialists in
Radiation Protection (available at: http://hps.org/publicinformation/radterms/radfact79.html).
                                                8
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       summarized that, “Overall, [Mr. Harris] has radiation necrosis fracture

       nondisplaced in the setting of a terrible soft tissue envelope and leg.” AR

       002611 (emphasis added). “[D]ue to his history of wound-healing issues,

       Dr. Holt recommended that Mr. Harris avoid any sort of procedure which

       might result in potential for re-infection. Taking her advice, Mr. Harris

       opted to proceed with . . . further casting.” AR 004322. Dr. Holt wrote: “He

       will need a prolonged treatment in the cast twice as long if not longer than a

       regular fracture would be treated in a cast for a tibia fracture. This is due to

       the radiation necrosis sustained with 60 gray radiation, the bones stripping

       from multiple surgical procedures, and the time that has lapsed in between.”

       AR 002611 (emphasis added).

     • On November 4, 2014, Mr. Harris met with Dr. Krishna Reddy. AR

       002613. Dr. Reddy wrote: “He now presents with a fracture of his midshaft

       tibia, which is relatively undisplaced. This is in the setting of radiation

       induced osteonecrosis.” AR 002613 (emphasis added). Dr. Reddy stated

       that “the fracture is not yet united . . . .” Id. Dr. Reddy wrote, “We feel this

       fracture is unlikely to go into healing secondary to radiation induced

       osteonecrosis from his previous treatments of sarcoma.” 10 AR 002613

       (emphasis added). Dr. Reddy discussed surgical treatment options with Mr.

10
  Sarcoma is defined as: “A connective tissue neoplasm, usually highly malignant, formed by
proliferation of mesodermal cells.” Sarcoma, Steadman’s Medical Dictionary (5th ed. 1984).
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        Harris including: posterolateral plating, an ipsilateral vascularized 11 fibular

        graft and plating, and amputation. Id. Mr. Harris opted for a bone graft and

        plating. Id.

     • On November 21, 2014, Dr. Holt and Dr. Douglas Welkert performed a

        bone graft on Mr. Harris. AR 002615. In his Operative Report, Dr. Welkert

        stated: “ALEXANDER HARRIS is a 45 year old Male presenting with

        nonunion of the tibia secondary to radiation and previous sarcoma resection

        of leg.” AR 002615 (emphasis added). He went on to write: “The patient’s

        past medical history is significant for a previous sarcoma resection of the

        left leg. The patient received radiation therapy as a part of his cancer

        treatment. The patient developed an osteonecrosis of his tibia with

        subsequent fracture and nonunion.” Id. (emphasis added).

     • In her Operative Report, Dr. Holt described the postoperative diagnosis as:

        “Pathologic fracture of the left midshaft tibia secondary to radiation

        osteonecrosis and periosteal stripping following soft tissue sarcoma

        resection and infection.” 12 AR 002617 (emphasis added).




11
   Vascular is defined as “Relating to or containing blood vessels.” Vascular, Steadman’s
Medical Dictionary (5th ed. 1984).
12
   Periosteal is defined as: “relating to the periosteum.” Periosteal, Steadman’s Medical
Dictionary (5th ed. 1984). The Periosteum is defined as “round the bones.” Periosteum,
Steadman’s Medical Dictionary (5th ed. 1984).
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      C. Mr. Harris Returns to the Hospital and is Admitted at Vanderbilt

      Three days after the surgery, Mr. Harris was ambulatory at the hospital and

using a rolling walker. AR 004323. He had fever and pneumonia-like symptoms,

nevertheless, he was discharged on November 26, 2014, “with symptoms of

fatigue, a low-grade fever and drainage from a prior flap site.” Id. Mr. Harris had

persistent fevers and general feeling of illness; thus, he went to a hospital

emergency room. AR 002621; AR 004323. On December 8, 2014, he was then

transferred from that hospital to Vanderbilt University Medical Center. AR

002625; AR 004323.

   • On December 8, 2014, Dr. William Grantham examined Mr. Harris and

       drafted a report in which he described Mr. Harris’s medical history, “He has

       history of malignant fibrous histiocytoma that was excised in 2001 and had

       subsequent radiation therapy from which he had a pathological fracture of

       his left tibia this year.” AR 002621 (emphasis added). In his assessment of

       Mr. Harris, Dr. Grantham wrote, “Mr. Harris is a 45-year-old man status

       post a left vascular fibula graft for a tibial pathologic fracture who has a

       fever of unknown origin.” AR 002622 (emphasis added). Dr. Grantham

       tentatively planned that Mr. Harris be “boarded for irrigation and

       debridement pending the results of the workup[,]” and admitted Mr. Harris

       to the Orthopaedic Oncology service. Id.


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      D. Mr. Harris Undergoes Amputation Procedure

      Upon admission to Vanderbilt, Mr. Harris also met with Dr. Holt. AR

002625. Dr. Holt discussed with him that if he had an infection Dr. Holt would

proceed with an amputation. Id. Dr. Holt reported that a test revealed that his leg

was infected with MRSA. Id. On December 10, 2014, Dr. Holt met with Mr. Harris

to discuss with him the need to amputate his leg and Mr. Harris consented. That

day, Dr. Holt performed a below knee amputation on Mr. Harris’s leg. Id.

   • In her December 10, 2014, Operative Report, Dr. Holt diagnosed Mr. Harris

       in both her pre and post operative diagnosis as: “Radiation necrosis,

       nonunion, osteomyelitis, left tibia.” Id. (emphasis added).

      E. Mr. Harris’s Claim and Lincoln’s Denial of Benefits

      On December 23, 2014, Mr. Harris signed a Dismemberment Claim Form in

which he claimed $57,500 under the Basic Policy and $280,000 under the

Voluntary Policy. AR 004544. He wrote that on August 16, 2014: “I was walking

in my yard and when I put my foot down my left tibia broke in several pieces.

Attempts to repair it were unsuccessful and resulted in amputation of my left leg

below the knee.” AR 004544. Attached to the form was an Attending Physician’s

Statement completed by Dr. Holt. AR 004545. In response to the question, “Was

the loss caused by an Accident?” Dr. Holt checked the box “No.” Id. She

confirmed that Mr. Harris underwent an amputation procedure. Id.


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      On February 17, 2015, a Lincoln employee contacted Mr. Harris and

requested additional medical records, because Dr. Holt indicted that his amputation

was not due to an accident. AR 002578. That same day, Lincoln sent Mr. Harris a

letter requesting additional information including: medical records, hospital

records, CT scan results, MRI results, and office visit notes. AR 004530.

      On March 17, 2015, Lincoln sent Mr. Harris a letter again requesting the

same additional information. AR 004528. The letter requested that the information

be provided within 15 days, and stated that the claim file would otherwise be

closed. Id. On March 30, 2015, Lincoln sent Mr. Harris a letter stating that his “file

is being closed due to insufficient information.” AR 004524. Lincoln wrote that if

the documentation was later provided, then Lincoln would continue its review. AR

004524.

      On April 29, 2015, Mr. Artrip, on behalf of Mr. Harris, sent Lincoln a letter

stating, “We are in the process of obtaining all relevant medical records and will

provide them to you when received. Please provide a copy of the policy including

any and all endorsements and exclusions.” AR 004523. On August 18, 2015, Mr.

Artrip sent Lincoln a letter including medical records. AR 004321. Mr. Artrip

acknowledged that 15 years previously Mr. Harris had been diagnosed with

malignant fibrous histiocytoma in his left leg. Id. Mr. Artrip stated that Mr. Harris

“was functional and disease free” at the time of his injury. Id. In his letter, Mr.


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Artrip described the accident as Mr. Harris “running across an overgrown vacant

lot” and that “[h]e stepped in a hole covered by long grass and broke his leg.” AR

004322. On May 7, 2015, Lincoln sent Mr. Artrip copies of the Policies. AR

004521.

       Lincoln asked its employee, 13 Fil Castillo, RN, to review Mr. Harris’s claim.

AR 002580; AR 00189; (Doc. 12, p. 19). Mr. Castillo concluded: ”The medical

findings indicate that the loss was not caused by an acute accidental injury. The

medical findings indicate that the loss was a result of complicated chronic medical

conditions i.e. malignant fibrous histiocytoma resection, radiation osteonecrosis,

infection, non union fx[.]” AR 000188. Mr. Castillo based his reasoning on the

following facts:

           • “The medical records indicate that the claimant was chasing his dog

               and felt a snap in his leg and fell to the ground” AR 000189.

           • “Xrays showed a nondisplaced pathological fracture in the setting of

               the surgical bed and surgical field.” Id.

           • “The 8/26/14 medical records noted that the claimant’s pathological

               fx of the left tibia was secondary to radiation necrosis.” Id.

13
   Lincoln writes in its brief that it “engaged a health care consultant, Fil Castillo, RN, to review
this claim.” (Doc. 12, p. 19.) Given that Lincoln uses the terms “engaged” and “consultant,” one
could read this statement and reasonably conclude that Lincoln hired an independent contractor
to review Mr. Harris’s claim. In fact, Lincoln even argues that its reviewers are “independent.”
(Doc. 12, p. 19.) Yet, these individuals are admittedly employees (see id.), and not independent
contractors.
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          • “The 11/21/14 op report noted that the pathological fx of the left tibia

              was secondary to radiation osteonecrosis and periosteal stripping

              following soft tissue sarcoma resection and infection.” Id.

          • “The 2/9/15 [Attending Physician Statement] noted that the left

              [below knee amputation] loss was not caused by an accident.” Id.

       On September 9, 2015, Lincoln sent Mr. Artrip a letter denying Mr. Harris’s

claim. AR 002712. Lincoln reasoned that the Mr. Harris’s “loss was a result of

complicated chronic medical conditions from malignant fibrous histiocytoma

resection, radiation osteonecrosis and infection.” AR 002713. Lincoln also noted

that the denied claim could be reviewed. Id.

       F. Mr. Harris Appeals and Lincoln Denies Benefits

       On November 6, 2015, Mr. Harris’s attorney, Glen Connor, sent Lincoln a

letter requesting “documents relevant to [Mr. Harris’s] claim, including a copy of

your entire claim file . . . .” AR 002709. That same day, Mr. Connor, sent Lincoln

a separate letter (characterized as a “second level appeal”) appealing Lincoln’s

initial determination. AR 002683. Mr. Connor sent Lincoln a declaration by Mr.

Harris, AR 002686-87, and other medical documents. AR 002688-707. 14

14
  The materials included: Dr. Maples’s August 19, 2014, examination notes, AR 002688-89; Dr.
Holt’s August 26, 2014, and September 23, 2014, examination letters, AR 002690-92; Dr.
Reddy’s November 4, 2014, examination letter, AR 002693-94; Dr. Welkert’s November 25,
2014, Operative Report, AR 002695-96; Dr. Holt’s November 21, 2014, Operative Report, AR
002697-98; Mr. Harris’s November 21, 2014, Vanderbilt University Medical Center Admitting
Form, AR 002699; December 8, 2014, MRI Report signed by Dr. Jake Block, AR 002700; Dr.
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      In his November 6, 2015, declaration, Mr. Harris stated that his injury

occurred on August 16, 2014, because while he was jogging his foot was suddenly

stopped by something on the ground and it caused him to fall. AR 000266. He

described the events in relevant part as follows:

      In order to capture the dog, I needed to leave my yard and cross a
      vacant lot adjacent to my yard. . . . The terrain is hard, bumpy and
      irregular. Because of the weeds and grass and patchy ground, it was
      very difficult to see exactly where I was stepping.

             As I was jogging across the vacant lot, my foot was suddenly
      stopped. The stop was sufficiently sudden and I was moving
      sufficiently fast that my momentum caused me to flip and I landed flat
      on my back. In other words, I tripped. . . . I was immediately in a
      great deal of pain. I tried to walk and fell again. . . .

            To be clear, the break did not happen just because I was
      walking or running. . . . What caused my injury was the fact that my
      foot was suddenly stopped and caused a fall. My impression at the
      time was that I had stepped into a hole. All I know for certain is that
      my foot stopped and I went down. Whether the break was caused by
      the sudden stop or the fall I cannot tell, but I do know that the break
      did not just happen when I took a step, it happened when I tripped,
      whether in a hole or other obstacle.

             I have consistently told my physicians that this is what
      happened. None of my physicians have ever closely examined or
      questioned me as to the precise facts of the injury and they never
      showed me their notes, so I do not know their understanding of how
      the accident occurred. . . .



Grantham’s December 8, 2014, examination report, AR 002701-02; a December 8, 2014, RAD
Chest Portable exam results report, signed by Dr. John Worrell, AR 002703; a December 8,
2014, RAD Lower Leg Ap/Lateral exam results report, signed by Dr. Katie Harley, AR 002704;
Dr. Holt’s December 10, 2014, Operative Report, AR 002705-06; and December 10, 2010,
consultation notes signed by Pratish Patel (Pharmacist), AR 002707.
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             Prior to August 16, 2014 I had not had any problems with my
      leg since the surgery and treatment in 2001 and 2002. It functioned
      normally, though I had limited range of motion in the ankle. . . . In
      short, I was able to use my leg in a normal manner. It was completely
      healed.

AR 000266-67.

      On November 12, 2015, Lincoln responded to Mr. Connor stating that it had

received his letter requesting an appeal. AR 002599-600. Lincoln acknowledged

that he had sent additional information, and asked him to contact Lincoln

immediately if he would be submitting any more additional information. Id.

Lincoln did not reference Mr. Connor’s request that documentation be sent to him.

Id.

      That same day Carla Larimore, an Appeals Senior Claims Examiner for

Lincoln, asked Bryan Gall to assign the review of Mr. Harris’s claim to a nurse

staff member. AR 002601. On December 16, 2016, Nurse Lynn Sucha, whose title

is “Disability Nurse Consultant,” emailed Ms. Larimore a report. AR 002595, AR

002597. In the report, Nurse Sucha stated that she had received: (i) Dr. Maples

August 19, 2014, report, Dr. Holt’s August 26, 2014, report, and Dr. Welkert’s

report. AR 002597. She wrote that:

      The medical records revealed the fracture to be pathologic (related to
      or caused by disease) due to radiation necrosis in the surgical bed of
      the prior histocytoma. . . .

      . . . The claimant had a histocytoma excision, with radiation therapy,
      several failed skin flaps, and procedures. Years later the bed of the

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      histocytoma excision was affected by the radiation therapy it was
      exposed to, causing the bone to break due to this weakened state.

AR 002597. That same day, Ms. Larimore emailed Nurse Sucha, stating, “On this

one, I’m trying to determine if the initial injury in 2014 was a direct cause for the

amputation, or if the injury in 2015 was the direct cause.” AR 002595. Nurse

Sucha responded:

      The fracture in 2014 happened because he had radiation therapy to
      that site which left the bone in less than normal condition. The word
      “pathologic” means the fracture was caused by the underlying disease
      and treatment of that disease that occurred years prior. He simply took
      a step and bone fractured due to the effects of the prior radiation
      therapy.

AR 002594.

      On December 30, 2015, Lincoln sent Mr. Connor a letter in which it stated

that it was denying benefits and that Mr. Connor could request an appeal of the

decision. AR 002590-92. Lincoln explained that:

      [T]he prior radiation therapy contributed to the fracture which
      occurred on August 14, 2014. The medical records revealed that the
      fracture was pathologic (related to or caused by disease) due to
      radiation necrosis in the surgical bed of the prior histiocytoma. The
      fracture occurred in the same site as the prior radiation therapy
      causing the bone to break due to the weakened state.

AR 002592 (emphasis added).

      On February 2, 2016, Mr. Connor sent Lincoln a letter requesting “a copy of

the report from the health care consultant upon which you rely to deny benefits.”



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AR 002588. On February 19, 2016, Lincoln’s employees “processed” Mr.

Connor’s request, but Mr. Connor never received the file. AR 000222.

      G. Mr. Harris Again Appeals and Lincoln Denies Benefits

      On February 26, 2016, Mr. Connor sent Lincoln another letter requesting an

appeal of Lincoln’s prior benefits decision. AR 002422. In his letter, Mr. Connor

stated that he had sent Lincoln letters on both November 6, 2015, and February 2,

2016, requesting the materials that Lincoln relied upon in denying Mr. Harris’s

claim and he had not received a response. Id. Mr. Connor, addressing Lincoln’s

decision, wrote that, “The fundamental error in your analysis is the assertion that

the injury was caused because the bone had been weakened. In fact, the injury and

amputation were caused by an accident . . . .” AR 002422. He stated that, “The fact

that fact [sic] that Mr. Harris was able to engage in normal activity for many years

following the event which you claims [sic] resulted in the bone damage

demonstrates this fact.” AR 002423. On March 1, 2016, Mr. Connor sent a letter to

Lincoln submitting a letter prepared by Dr. Holt. AR 002377.

      In her letter, dated February 26, 2016, Dr. Holt discounted the sarcoma and

radiation as contributing to his infection and amputation concluding that they may

have been caused by other factors. AR 002378-79. Her letter states in relevant part:

             Although Mr. Harris has had a significant history of surgery to
      the leg extending from October 8, 2001 to March 25, 2003 he had
      gone a significant period of time without any pain, discomfort, or
      significant issues until this traumatic fracture occurred, to be exact a

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      12.5 year period of time. It is certainly arguable as to the nature of his
      fracture and what led to his subsequent amputation. . . .

             It [sic] my experience in taking care of patients who have had
      soft tissue sarcomas and radiation who subsequently have a fracture
      due to their treatment, they most often have antecedent pain and
      discomfort prior to fracturing the bone, they are far more often
      postmenopausal women greater than 55 years of age and their fracture
      occurs sooner than 12.5 years after treatment. Alex does not fit into
      any of these categories. Alex’s amputation occurred due to a fracture
      and subsequent infection that occurred remotely from any prior
      treatment to the limb and the nature of his infection is arguable. . . .

             In summary, while Alex has a very remote past history from his
      soft tissue sarcoma and radiation the remote nature of his fracture,
      failed cast treatment, prolonged open surgery or [sic] as likely as any
      other cause to contribute to his infection and subsequent amputation.

AR 002378-79 (emphasis added).

      On March 3, 2016, Jarod Ashley, Lincoln’s “Senior Claims Examiner,

Appeals,” called Mr. Connor asking to verify whether Mr. Connor had received the

complete file he requested, and whether Mr. Connor would be sending any

additional information. AR 000195. On March 9, 2016, Mr. Ashley sent Mr.

Connor an email asking for verification of the same information. Id. Over two

weeks later, on March 25, 2016, Mr. Connor responded stating that he had not

received the claim file and that without it Mr. Harris would not know what

“additional information would be necessary or appropriate to prove his claim.” Id.




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      On March 29, 2016, Mr. Jarrod responded that due to the size of the file he

could not email the entire file, but he requested a copy be sent to Mr. Connor and

attached 200 pages of medical records to his email. AR 000194.

      On April 15, 2016, Mr. Connor responded that he had not received the file

and also asked for “the summary plan description and the policy.” AR 000194. On

April 21, 2016, Mr. Ashley sent an email to Mr. Connor stating that a copy of the

complete file would be sent out that day or the following day, and he also stated

that he needed a time extension since the deadline for deciding the appeal was

approaching. AR 000193. That day, Mr. Connor acknowledged receipt of the email

writing “Received. Thank you.” Id.

      On May 6, 2016, Mr. Ashley sent Mr. Connor an email stating that he

wanted “to see if you received the file copy request that was sent out a couple

weeks ago and confirm if you were planning on sending in any additional medical

information . . . .” AR 000192-93. On May 17, 2016, Mr. Ashley again emailed

Mr. Connor asking him if he received the file and whether he would be sending

additional information. AR 000192. On May 23, 2016, Mr. Connor responded that

he had not received any documents. Id. On June 3, 2016, Mr. Ashley sent an email

to Mr. Connor stating that the file comes as a password protected CD, and asking if

he received a package from Lincoln containing a CD. AR 000191. Mr. Ashley




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stated that it was mailed twice most recently on April 21, 2016. Id. Mr. Connor

does not appear to have responded.

      On June 14, 2016, Mr. Ashley sent Mr. Connor an email stating that Lincoln

was proceeding with the second appeal and if any additional information was sent

to Lincoln, then Lincoln would review that information as well.” AR 000191. On

June 15, 2016, Mr. Ashley sent an email to Mr. Gall asking that Mr. Harris’s claim

be review be assigned to one of Lincoln’s employee nurses for review. AR 000197.

      On June 15, 2016, Mr. Gall referred the claim review to Nurse Tina Vrbka.

AR 000177. In her review, Nurse Vrbka, next to the reference “Documents

reviewed,” listed “Dr. Ginger Holt/orthopedics 08/26/14-02/26/16.” AR 000170.

She did not list Mr. Harris’s declaration. See id. Nurse Vrbka produced a review in

which she concluded:

      The medical findings do not meet the definition of accident and
      dismemberment. The x-rays also showed that on 08/26/14 that he had
      a pathological fracture that was non-displaced in setting of his surgical
      bed and surgical field showing a radiation necrosis fracture of the left
      leg. The diagnosis on 11/21/14 ORIF that was performed noted a
      DX’s of pathologic fracture of the left mid-shaft tibia secondary to
      radiation osteonecrosis and periosteal stripping following soft tissue
      sarcoma resection and injection.

AR 000170. Under the section described as “Rationale with medical findings”,

Nurse Vrbka wrote, “Claimant was walking in his yard when put his left foot down

and broke his left tibia in several places on 08/16/14.” Id. She also wrote “Dr. Holt:



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Letter dated 08/26/14: Consult for claimant, who was chasing dog and felt a snap

in is [sic] leg, immediate pain, and fell.” Id.

       On August 4, 2016, Lincoln sent Mr. Connor a letter stating that Lincoln’s

review was complete and Lincoln was denying Mr. Harris’s claim. AR 000173.

Lincoln explained:

       The medical findings do 15 support that your client’s below the knee
       amputation was directly related to an accidental injury. Medical
       information confirmed that Mr. Harris had a pathological fracture that
       was non-displaced that was non-displaced in setting of his surgical
       bed and surgical field showing a radiation necrosis fracture of his left
       leg. . . .

       Mr. Harris’ medical information showed that his loss was not caused
       by an acute accidental injury, but rather the loss was the result to a
       chronic medical condition.

AR 000175.

       H. Harris Files Suit/Procedural Background

       On September 13, 2016, Mr. Harris filed his two count Complaint asserting:

(i) a claim for dismemberment benefits; and (ii) a claim asserting wrongful

withholding of documents related to the Lincoln’s denial of the dismemberment

claim. (Doc. 1, p. 4-5.) On October 5, 2016, Lincoln filed its Answer. (Doc. 5.)

       On November 17, 2017, Lincoln filed its Motion for Summary Judgment

(Doc. 12), on December 18, 2017, Mr. Harris filed a Response in Opposition to the


15
 This appears to be a typographical error. In the next paragraph, Lincoln asserts that the injury
was not caused by an accident. AR 000175.
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motion (Doc. 19), and, on January 25, 2018, Lincoln filed a Reply brief (Doc. 22).

On March 5, 2018, Mr. Harris filed his own Motion for Summary Judgment (Doc.

28), and, on March 26, 2018, Lincoln filed a response (Doc. 34).

       On December 4, 2018, this Court ordered that the parties resubmit their

briefs reformatted in a manner consistent with the undersigned judge’s Amended

Initial Order. (Doc. 37.) On December 19, 2018, Lincoln filed its Reformatted

Motion for Summary Judgment (Doc. 40), and, the next day, Mr. Harris filed his

reformatted brief (Doc. 42) in support of his motion. On January 7, 2019, Lincoln

and Mr. Harris filed their responses (respectively Docs. 50 & 51), and, on January

14, 2019, they filed their replies (Doc. 54 (Lincoln’s reply), Doc. 55 (Mr. Harris’s

reply)).

II.    STANDARD OF REVIEW

       ERISA does not set out a standard for courts reviewing the benefits of plan

administrators or fiduciaries. Firestone Tire & Rubber Co. v. Bruch, 489 U.S. 101,

(1989). Consequently, the United States Court of Appeals for the Eleventh Circuit

developed a test to review an administrator’s decision to deny benefits.

Blankenship v. Metropolitan Life Ins. Co., 644 F.3d 1350, 1355 (11th Cir. 2017). 16


16
  This Court has explained that the typical standard of review used in reviewing motions for
summary judgment is inapplicable in the context of the review of a claim for denial of benefits:

       Typically, a motion for summary judgment is due to be granted upon a showing
       that “no genuine dispute as to any material fact” remains to be decided on the
       action and “the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.
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The six-part test described by the Blankenship Court when reviewing a plan

administrator’s benefit decision is as follows:

      (1) Apply the de novo standard to determine whether the claim
      administrator's benefits-denial decision is “wrong” (i.e., the court
      disagrees with the administrator's decision); if it is not, then end the
      inquiry and affirm the decision.

      (2) If the administrator’s decision in fact is “de novo wrong,” then
      determine whether he was vested with discretion in reviewing claims;
      if not, end judicial inquiry and reverse the decision.

      (3) If the administrator’s decision is “de novo wrong” and he was
      vested with discretion in reviewing claims, then determine whether
      “reasonable” grounds supported it (hence, review his decision under
      the more deferential arbitrary and capricious standard).

      (4) If no reasonable grounds exist, then end the inquiry and reverse
      the administrator’s decision; if reasonable grounds do exist, then
      determine if he operated under a conflict of interest.

      (5) If there is no conflict, then end the inquiry and affirm the
      decision.


      56(a); See Celotex Corp. v. Catrett, 477 U.S. 317, 322–23, 106 S.Ct. 2548, 91
      L.Ed.2d 265 (1986). However, “‘[i]n an ERISA benefit denial case[,]’” the trial
      court “‘does not take evidence, but, rather evaluates the reasonableness of an
      administrative determination in light of the record compiled before the plan
      fiduciary.’” Curran v. Kemper Nat'l Servs., Inc., No. 04-14097, 2005 WL 894840,
      at *7 (11th Cir. 2005) (quoting Leahy v. Raytheon Co., 315 F.3d 11, 17–18 (1st
      Cir. 2002)). As the Eleventh Circuit has recognized, “the motion that serves ‘as
      [a] vehicle[ ] for resolving conclusively’ an ERISA benefits-denial action is not a
      typical motion for summary judgment.” Prelutsky v. Greater Ga. Life Ins. Co.,
      692 Fed.Appx. 969, 972 n.4 (11th Cir. 2017) (citing Blankenship v. Metro. Life
      Ins. Co., 644 F.3d 1350, 1354 n.4 (11th Cir. 2011) (per curiam)). Therefore the
      standard the Court will apply in this case is the six-step framework summarized
      in Blankenship.

Garrison v. Lincoln National Life Ins. Co., 294 F.Supp.3d 1281, 1293 n.10 (N.D. Ala. 2018)
(Coogler, J.) (brackets in original).
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       (6) If there is a conflict, the conflict should merely be a factor for
       the court to take into account when determining whether an
       administrator's decision was arbitrary and capricious.

Blankenship, 644 F.3d at 1355 (emphasis in original).

III.   ANALYSIS

       The Court now analyzes the parties’ motions as they related to Mr. Harris’s

claims: (i) a claim for dismemberment benefits; and (ii) a claim asserting wrongful

withholding of documents related to Lincoln’s denial of the dismemberment claim.

       A. Claim for Wrongful Denial of Dismemberment Benefits

       Lincoln argues that examining its decision to deny dismemberment benefits

under the first step, the decision was de novo correct. (Doc. 40, p. 34, 36-43.) Mr.

Harris argues that Lincoln’s decision was wrong, because:

       (i) the decision failed to consider his declaration in which he stated how he

was injured (Doc. 51, p. 20; Doc. 42, p. 10);

       (ii) the medical records “corroborate[]” that his fall was the cause of his

break (Doc. 51, p. 20 (citing AR 003636));

       (iii) two nurse reviewers “were either never informed of Mr. Harris [sic]

testimony or ignored it[,]” (Doc. 51, p. 20; see Doc. 42, p. 10);

       (iv) Dr. Holt “never closely questioned him about exactly how the break

occurred[,]” and Mr. Harris was “never offered the opportunity to correct any




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errors which might exist in the medical records as to the sequence of events the

[sic] led to or caused the accident[,]” (Doc. 51, p. 20-21);

      (v) Dr. Holt “confirmed” that “the leg was amputated due to the break and

not prior treatment . . .” (Doc. 42, p. 10); and

      (vi) “Lincoln is wrong as a matter of law regarding the interpretation of the

policy.” (Doc. 51, p. 25; see Doc. 42, p 10-11.)

      The Court shall first discuss how it shall interpret the preexisting condition

exclusion included in the Policies prior to analyzing the parties’ arguments directed

towards the six-part Blankenship test reviewing Lincoln’s decision.

               i. Substantially Contributed Test Applies to the Policies

      The Eleventh Circuit in Dixon v. Life Ins. Co. of N. Am., 389 F.3d 1179,

1183-84 (11th Cir. 2004), explained how courts should interpret language in a

policy that precludes recovery for an accidental injury where a preexisting

condition was a contributing factor. The Dixon Court adopted the “substantially

contributed”    test   and   required   that preexisting conditions    “substantially

contributed” to an injury or loss to preclude recovery. Id. at 1184.

      In Dixon, the defendant insurance company had issued an insurance policy

that provided accidental death benefits to the plaintiff’s husband who died of heart

failure during an auto accident. Id. at 1180-81. The policy included exclusionary

language that precluded coverage resulting from “sickness, disease, or bodily


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infirmity[,]” and the insurance company denied the plaintiff’s claim for benefits

stating that the decedent’s death “was not ‘caused by an accident’ but resulted from

‘other causes.’” Id. at 1180. The plaintiff’s retained cardiologist stated that the

automobile accident caused the stress that “directly and accidentally” caused the

decedent’s death. Id. at 1181. The district court granted the insurance company’s

motion     for   summary    judgment    concluding    that   the   policy’s   language

unambiguously precluded recovery. Id. at 1182.

      The Eleventh Circuit, examining the issue of whether “language in an

ERISA policy may preclude recovery for accidental injury where some preexisting

condition was a contributing factor[,]” explained:

      The coverage provided under the [Life Insurance Company of North
      America] policy at issue would be rendered almost meaningless if we
      were to adopt the strict interpretation advanced by Appellee. As the
      Fourth Circuit rightly pointed out, an overly strict interpretation of
      “directly and from no other causes” would provide insureds, or their
      beneficiaries, with coverage only where the insured was in perfect
      health at the time of an accident. The “substantially contributed” test
      gives this exclusionary language reasonable content without
      unreasonably limiting coverage. And, it advances ERISA’s purpose to
      promote the interests of employees and their beneficiaries. See
      Firestone[ Tire & Rubber Co. v. Bruch], 489 U.S. [101,] 113, 109
      S.Ct. [948,] 956[ (1989)].

Id. at 1184. The Dixon Court adopted the “substantially contributed” test, but

found that plaintiff’s husband’s pre-existing condition “substantially contributed”

to his death and affirmed the district court judgment. Id. at 1184-85.



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      The Eleventh Circuit, in Bradshaw v. Reliance Standard Life Ins. Co., 707

Fed.Appx. 599, 600 & 610 (11th Cir. 2017), applying the substantially contributed

test, found that an insurance company unreasonably denied long-term disability

benefits in claiming that the insured’s healthy pregnancy qualified as a pre-existing

condition that “contributed to” the insured’s stroke. In Bradshaw, the plaintiff was

a few weeks pregnant when she bought a long-term disability insurance policy

from the defendant insurance company. Id. at 601. The insurance policy excluded

coverage where a disability was caused by a pre-existing condition, defined to

include “Sickness” which in turn was defined to include pregnancy. Id. at 602.

Prior to giving birth, the plaintiff was diagnosed with “mild preeclampsia,” and

after giving birth, she had a stroke; as a result, she filed an application for disability

benefits. Id. at 601. The defendant denied the plaintiff’s claim asserting that her

disability from the stroke resulted from a “pre-existing condition” from which she

received treatment, namely, the pregnancy. Id. at 602.

      The district court granted summary judgment in favor of the insurance

company. Id. at 603. The Bradshaw Court observed the Dixon Court adopted the

“substantially contributed” test. Id. at 608. The Bradshaw Court stated that

drawing a connection between the plaintiff’s healthy pregnancy and the disabling

condition required one to create four links (the (1) pregnancy led to (2) high blood

pressure, which in turn led to (3) preeclampsia, which in turn led to a (4) stroke)


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which was too attenuated. Id. at 610. Thus, the Bradshaw Court held that the

defendant’s use of the pre-existing condition exclusion to deny benefits was

unreasonable. Id.

      The policies at issue in the case before the Court contain pre-existing

condition exclusions, see AR 000065, AR 000130, AR 000137, similar to those in

the policies in the Dixon and Bradshaw cases. Thus, in light of Dixon, the Court

shall apply the substantially contributed test in interpreting the policies.

             ii. First Step of the Blankenship Test, De Novo Review of the
                 Lincoln’s Decision

      In reviewing the administrator’s denial of dismemberment benefits, the

Court must first determine whether the administrator’s denial is “wrong.”

Blankenship, 644 F.3d at 1355. The Eleventh Circuit further explained that:

      A decision is “wrong” if, after a review of the decision of the
      administrator from a de novo perspective, “the court disagrees with
      the administrator's decision.” Williams[ v. BenllSouth Telecomms.,
      Inc.], 373 F.3d [1132,] 1138 & n. 8[ (11th Cir. 2004)]. The court must
      consider, based on the record before the administrator at the time its
      decision was made, whether the court would reach the same decision
      as the administrator.

Glazer v. Reliance Standard Life Ins. Co., 524 F.3d 1241, 1246 (11th Cir. 2008)

(emphasis in original). This Court has observed that “Courts have found that an

administrator is ‘wrong’ where it ‘disregarded the unanimous medical opinions’ of

treating physicians.” Pickert v. Reliance Standard Life Ins. Co., No. 5:13-cv-2222-

TMP, 2015 WL 12697726, at *8 (N.D. Ala. Jun. 9, 2015) (Putnam, M.J.) (quoting

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Gharagozloo v. Aetna Life Ins. Co., No. 08-23349-CIV, 2009 WL 3753589, *15

(S.D. Fla. Nov. 5, 2009)).

      The Eleventh Circuit explained, albeit in an unpublished decision, that a

court conducting the de novo review “applies the terms of the policy.” Ruple v.

Hartford Life and Acc. In. Co., 340 Fed.Appx. 640, 611 (11th Cir. 2009). This

Court also stated that in determining whether an administrator is correct in denying

benefits, “this court begins with a review of the [p]olicy itself, since an ERISA

plan administrator must discharge its duties ‘in accordance with the documents and

instruments governing the plan insofar as such documents and instruments are

consistent with the provisions of [ERISA]’.” Hillyer v. Hartford Life and Acc. Ins.

Co., No.2:09-cv-00843-JHH, 2011 WL 925027, at *13 (N.D. Ala. Jan. 31, 2011)

(Hancock, J.) (quoting 29 U.S.C. § 1104(a)(1)) (second bracket in original).

      Lincoln’s Policies limit its coverage for dismemberment claims to situations

where the insured’s loss is caused by an accident, and there are no other factors

that contribute to causing the loss. See AR 000065; AR 000130; AR 000137. In

light of Dixon, 389 F.3d at 1184, the Court construes this provision as precluding

recovery where factors, other than the accident, “substantially contribute” to the

loss. In other words, if a disease substantially contributed to the Mr. Harris’s loss,

then Lincoln would be correct in denying Mr. Harris’s claim under the Policies.




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      The Court now turns to the administrative record to examine Mr. Harris’s

treating physician’s opinions. This Court has previously observed:

      Courts have held that a treating physician’s opinion cannot be
      discounted or ignored. See Wilson v. Walgreen Income Protection
      Plan, 942 F. Supp. 2d 1213 (M.D. Fla. 2013). As that court noted, it is
      “unreasonable for an administrator to ‘arbitrarily’ reject clear medical
      evidence, including the opinions of a treating physician.” 942 F. Supp.
      2d at 1251, citing Black & Decker Disability Plan v. Nord, 538 U.S.
      822, 834, 123 S. Ct. 1965, 155 L.Ed. 2d 1034 (2003).

Pickert, 2015 WL 12697726, at *8.

      According to Mr. Harris, his leg broke while he was running outside;

specifically, his “foot was suddenly stopped and caused a fall.” AR 003636. Mr.

Harris’s description of his accident describes the circumstances of how he fell and

broke his leg. The Eleventh Circuit has found that an insurer’s preference for

medical opinions based on objective over subjective medical evidence is not

unreasonable. Doyle v. Liberty Life Assurance Company of Boston, 542 F.3d 1352,

(11th Cir. 2008) (“We do not believe . . . that [the insurance company’s] preference

for medical opinions grounded on objective medical evidence is somehow

indicative that its decision was unreasonable . . . .”); see also Hillyer, 2011 WL

925027, at *19 (finding that insurance company’s reliance on objective medical

evidence over plaintiff’s subjective reports was reasonable.). Mr. Harris does not

claim to be physician. His declaration, therefore, lacks the medical authority to

negate the possibility that other medical factors (such as a disease) may have


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played a substantial role in causing in his leg to break. Thus, to the extent that Mr.

Harris’s relies on his own declaration to conclusively demonstrate the medical

causation of his loss (see Doc. 51, p. 19-21, 24, 29; Doc. 42, p. 10, 12, 13)

contradicting objective medical evidence, his argument lacks persuasive force.

      If the fracture of Mr. Harris’s leg, which occurred when he fell, was not

substantially affected by disease, then Mr. Harris should be able to recover

dismemberment benefits. The Court turns to the Administrative Record and, in

particular, the opinions of Mr. Harris’s treating physicians.

   • On August 19, 2014, shortly after Mr. Harris’s accident Dr. Maples reported

      on Mr. Harris’s history of histiocytoma with radiation treatment and noted

      that Mr. Harris sustained a fall “while running resulting in a left tibia

      fracture . . . .” AR 003636. Dr. Maples’s report identifies the cause of the

      fracture as the fall, and although he was aware of Mr. Harris’s prior

      treatment he did not diagnosis any existing disease as causing Mr. Harris’s

      fracture.

    • Yet, Mr. Harris’s other doctors repeatedly stated that his fracture was

       caused by the radiation necrosis. Dr. Ginger Holt reached this conclusion in

       her August 26, 2014, consultation notes, AR 002610-11; Dr. Reddy also

       noted the same conclusion in his November 4, 2014, notes, AR 002613; Dr.

       Welkert stated this conclusion in his November 21, 2014, post-operative


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        report, AR 002615; Dr. Holt again stated the same conclusion in her

        November 21, 2014, post-operative report AR 002617; and Dr. Grantham

        stated the same finding in his December 8, 2014, notes AR 002621.

     • In her February 26, 2016, letter, Dr. Holt appeared to backtrack on her

        unequivocal conclusion that Mr. Harris’s fracture was caused by radiation

        necrosis. See AR 002378-79. 17 Dr. Holt in essence reaches no true

        conclusions, she states that it is possible that his fracture was caused by

        radiation necrosis, and that possibility is just “as likely as any other

        cause . . . .” Id. The letter, upon which Mr. Harris places great weight, does

        not state that his trip and fall was the singular “substantial cause” of his

        loss. See id. The letter does not state that radiation necrosis was only a

        minor cause or, in other words, a cause that was not substantial. See id.

        Instead, Dr. Holt states that factors, such as the radiation necrosis, are just

        as likely as the fall to contribute to his loss. Id.

       From the record, it is clear that Mr. Harris’s leg accidentally broke, but his

doctors overwhelmingly concluded that that the cause of his loss was a pre-existing

weakness in his leg that developed from radiation therapy. 18 Dr. Maples’s early


17
   Mr. Harris contends that Dr. Holt “confirmed” that “the leg was amputated due to the break
and not prior treatment . . .” (Doc. 42, p. 10). Mr. Harris’s characterization of the facts is not
supported by the administrative record, see AR 002378-79, and needs not be addressed further.
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   Lincoln also notes that it utilized three nurses to review Mr. Harris’s medical records and it
“relied” on their conclusions in its denial of benefits. (Doc. 40, p. 40.) The Eleventh Circuit
observed that it is not unreasonable for an insurer to rely on “independent medical opinions or in
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diagnosis of Mr. Harris’s condition conflicts with the diagnosis of subsequent

doctors, Dr. Reddy, Dr. Welkert, Dr. Grantham, who all benefited from greater

knowledge about Mr. Harris condition. Dr. Holt’s inconclusive letter does not

negate the fact that radiation necrosis could have been a substantial cause.

Moreover, her letter conflicts with her earlier conclusive diagnosis of Mr. Harris’s

condition. Mr. Harris fails to provide a basis for ignoring or discounting Dr.

Reddy’s, Dr. Welkert’s, and Dr. Grantham’s opinions. Thus, Mr. Harris’s

argument to the extent it relies on Dr. Maples’s progress notes (see Doc. 51, p. 20-

21 (citing AR 003636)), and Dr. Holt’s February 26, 2016, letter (Doc. 51, p. 22


crediting those opinions over the opinions of [the insured’s] doctors.” Blakenship, 644 F.3d at
1356. The Court, however, chooses not to rely on these consulting nurses in reviewing the cause
of Mr. Harris’s loss, because as employees of Lincoln they had no incentive to provide an
independent medical review of his claim.
        Lincoln acknowledges that these nurses were Lincoln employees, but also argues that
they were independent. (Doc. 54, p. 15.) Lincoln provided a declaration of Thomas Vargo,
Lincoln’s Director of Risk. (Doc. 46-1.) In his declaration, Mr. Vargo asserts that: Lincoln
maintains its life claims department and appeals unit as separate and independent entities[;]”
“Each decision-maker in Lincoln’s appeals unit is charged with making an independent
assessment of the adverse benefits determination based on the relevant provisions in the
governing policy and upon all of the information submitted, considered, and generated during the
claims process[;]” Lincoln “does not compensate claims and appeals department employees
based on the outcome of claims, in order to reduce potential bias, promote accuracy and ensure a
full and fair review of life/AD&D claims[;]” “Lincoln does not provide financial or other
incentives to its employees to deny or close claims[;]” “Employees in Lincoln’s claims and
appeals units are paid fixed salaries and they may be eligible for an annual bonus[;]” “Annual
bonuses are based on the overall financial performance of Lincoln and its related entities for all
areas of Lincoln’s business[;]” “The consulting nurses are not given any authority to make
claims decisions.” (Doc. 46-1, p. 2-3.)
        Lincoln, however, provides no authority that such working conditions make a Lincoln
employee independent of Lincoln. (See Doc. 54, p. 15.) To the contrary, these consulting nurses
are admittedly Lincoln employees and their compensation is structured in such a way to
encourage them to recommend the denial of claims. Given that their bonuses are based on the
overall financial performance of the company, they have an incentive to deny benefits that the
company would pay out so that Lincoln will have a better financial performance.
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(citing AR 002378), 23-24, 28-29; Doc. 42, p. 13-14) fails to demonstrate that

Lincoln’s decision was de novo wrong in light of the countervailing opinions of

Mr. Harris’s other treating physicians.

       Viewing the record as a whole, the Court lacks a basis to conclude that on

this evidence Lincoln was wrong when it denied Mr. Harris’s dismemberment

claim, because his pre-existing radiation necrosis was, according to his treating

physicians, a substantial cause of his loss.

       Mr. Harris argues that the Lincoln’s decision was wrong, because Lincoln’s

nurse reviewers “were either never informed of Mr. Harris [sic] testimony or

ignored it.” (Doc. 51, p. 20.) Mr. Harris asserts that Lincoln did not provide Mr.

Harris’s “testimony” to its employee reviewer, because (1) the manner in which

Nurse Sucha and Nurse Vrbka described Mr. Harris’s accident differs from the

manner in which Mr. Harris described his accident; and (2) Nurse Vrbka did not

list his declaration in her review. (Doc. 51, p. 20.) 19



19
   In her Clinical Response, Nurse Sucha wrote: The records indicate the claimant took a step
and heard a snap, and then fell. This describes a pathologic fracture.” AR 002597. In her Clinical
Review, Nurse Vrbka wrote: “Claimant was walking in his yard when put his left foot down and
broke his left tibia in several places on 8/16/14.” AR 000170. These statements are consistent
with Mr. Harris’s own initial description of his injury, and Mr. Harris is correct that these
descriptions do not reflect his description of his injury as he described it in his declaration. See
AR 000266-67. These inaccuracies do create the appearance that Nurses Sucha and Vrbka did in
fact fail to review his declaration.
         In her Clinical Review, Nurse Vrbka, did not list Mr. Harris’s declaration as a document
that she reviewed. AR 000170. Regardless, the record demonstrates that Lincoln asked Nurse
Vrbka to: “Please summarize the medical information reviewed and state your findings.” AR
000179 (emphasis added). Plaintiff’s declaration does not constitute medical information. Thus,
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       The Court in performing a de novo review of the medical evidence did not

provide any weight to the opinions of Lincoln’s employee reviewers. Thus, their

lack of review of that declaration has no impact on the Court’s de novo review of

Mr. Harris’s medical record with respect to the first step of the Blankenship test.

       Mr. Harris argues that Lincoln’s decision was wrong, because Dr. Holt

“never closely questioned him about exactly how the break occurred[,]” and he

was “never offered the opportunity to correct any errors which might exist in the

medical records as to the sequence of events the [sic] led to or caused the

accident.” (Doc. 51, p. 20-21.) Assuming this is true, Mr. Harris’s argument fails to

identify how Lincoln’s denial of benefits was “wrong” in light of Dr. Holt’s

alleged failure to question him about the circumstances of his break or her alleged

failure to permit him to correct errors in medical records. To the extent that Mr.

Harris believes that Dr. Holt failed to adequately diagnosis him, Mr. Harris was

certainly free to retain other medical providers and submit that evidence to Lincoln

in support of his claim. Moreover, the record shows that Mr. Harris informed his

medical providers as to the circumstances of his accident. AR 000266-67 (“I have

consistently told my physicians that this is what happened.”). Given that he

informed his physicians as to the circumstances of his accident, it is reasonable that



Nurse Vrbka would not have been required to identify the declaration in her review if she did in
fact review it.


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Dr. Holt would not need to question Mr. Harris as to how his accident occurred.

Furthermore, Mr. Harris provides no legal basis for his argument that his medical

providers should have permitted him to correct medical records regarding the

causation of his loss. Mr. Harris does not contend to be a medical provider and

appears to have no professional training which would give him a basis upon which

he would be professionally justified to correct the medical opinions of his treating

physicians. Finally, Mr. Harris does not explain how the particular circumstances

of Mr. Harris’s leg fracture, whether it was from putting his foot down or having it

stop suddenly, would alter his treating physicians’ findings that the leg fracture

was caused by radiation necrosis.

      Mr. Harris also argues that “Lincoln is wrong as a matter of law because it

relies upon the underlying suggestion that the injury must be the ‘sole cause’ of the

injury for benefits to be paid.” (Doc. 51, p. 25-27; see Doc. 42, p 10 (citing

Bradshaw, 707 Fed.Appx. at 606-07; Dixon, 389 F.3d at 1183).) As discussed

above, Bradshaw and Dixon stand for the proposition that the courts should

employ a substantially contributed test in interpreting policy provisions that

exclude coverage for preexisting conditions. Dixon, 389 F.3d at 1184; Bradshaw,

707 Fed.Appx. at 608. Those cases did not hold that a court must find an insurer’s

benefits decision to be “wrong” in a de novo review where the court finds that an

insured’s preexisting condition substantially contributed to his loss. See Dixon, 389


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F.3d at 1184-85 (reviewing insurer’s denial of benefits, the Eleventh Circuit

employed the substantially contributed test, which the insurance company failed to

employ, the Eleventh Circuit, however, still found insured’s preexisting condition

precluded recovery of benefits).

           iii. Second and Third Steps of the Blankenship Test, Whether
                Lincoln’s Decision Was Reasonable

      Assuming arguendo, that Lincoln’s denial of dismemberment benefits was

wrong, summary judgment is still due to be granted to Lincoln and denied to Mr.

Harris, because Lincoln’s decision was reasonable. The Court proceeds to analyze

the parties’ arguments under the second and third steps of the Blankenship test.

      If the Court finds that the administrator’s decision is de novo wrong in

denying benefits for a claimant, then the Court is required to review that denial for

“reasonableness” under an arbitrary and capricious standard if the administrator

was vested with discretion in reviewing claims. Blankenship, 644 F.3d at 1355.

The Policies expressly grant Lincoln discretion in reviewing a claimant’s claim for

benefits. See AR 000064; AR 000145; see Garrison, 294 F.Supp.3d at 1284 &

1296 (finding that similar language granted insurance company discretion in

reviewing claims for benefits and applying “arbitrary and capricious standard).

Therefore, assuming, for sake of argument, that Lincoln’s denial of benefits to Mr.

Harris was wrong, the Court examines whether that denial was reasonable.



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      Under the third step, the Court determines “whether ‘reasonable’ grounds

supported [Lincoln’s decision] (hence, review [the] decision under the more

deferential arbitrary and capricious standard).” Blankenship, 644 F.3d at 1355.

This Court has described the arbitrary and capricious standard of review:

             Under arbitrary and capricious review, “the plan administrator’s
      decision to deny benefits must be upheld so long as there is a
      ‘reasonable basis’ for the decision.” Oliver v. Coca–Cola Co., 497
      F.3d 1181, 1195 (11th Cir. 2007), reh’g granted and partially vacated
      on other grounds, 506 F.3d 1316 (11th Cir. 2007), quoting Jett v. Blue
      Cross & Blue Shield of Ala., 890 F.2d 1137, 1140 (11th Cir. 1989).
      That is, “this Court’s role is limited to determining whether
      [Hartford’s] interpretation was made rationally and in good faith—not
      whether it was right.” Guy v. Southeastern Iron Workers Welfare
      Fund, 877 F.2d 37, 38 (11th Cir. 1989). The determination of the plan
      administrator “need not be the best possible decision only one with a
      rational justification.” Griffis v. Delta Family–Care Disability Plan,
      723 F.2d 822, 825 (11th Cir. 1984).

             If a reasonable basis exists for the decision made by Hartford,
      “it must be upheld as not being arbitrary and capricious, even if there
      is evidence that would support a contrary decision.” Jett v. Blue Cross
      & Blue Shield, Inc., 890 F.2d 1137, 1138 (11th Cir. 1989); see also
      Sharron v. Amalgamated Ins. Agency Servs., Inc. ., 704 F.2d 562, 564
      (11th Cir. 1983) (“[A] court should enforce a decision of pension fund
      trustees even though the court may disagree with it, so long as the
      decision is not arbitrary and capricious.”). “When it is possible to
      offer a reasoned explanation, based on the evidence, for a particular
      outcome, that outcome is not arbitrary or capricious.” Davis v.
      Kentucky Fin. Cos. Retirement Plans, 887 F.2d 689, 693 (6th Cir.
      1989), quoting Pokratz v. Jones Dairy Farm, 771 F.2d 206, 209 (7th
      Cir.1985).

Hillyer, 2011 WL 925027, at *18 (brackets in original).




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       Lincoln argues the decision was supported with “reasonable” grounds (Doc.

40, p. 43-47). 20 Mr. Harris responds that Lincoln’s decision was “unreasonable,”

because it “failed to take into consideration how the injury occurred[,]” and

Lincoln’s medical reviewers “treated the opinion of Harris [sic] physician with

similar disregard.” (Doc. 51, p. 21-22.) Mr. Harris also argues that Lincoln “failed

to give its medical reviewers relevant evidence to consider . . . .” (Doc. 51, p. 25.) 21

       In light of the analysis above, the Court finds that Lincoln was not

unreasonable in giving more credence to the opinions of Dr. Reddy, Dr. Welkert,

and Dr. Grantham, than it did to Dr. Maples or to Dr. Holt’s inconclusive letter.

Lincoln’s reliance on the opinions of these physicians does not constitute a failure

on Lincoln’s part to consider how the injury occurred or a demonstration of

disregard to Mr. Harris’s declaration of his other physicians. Mr. Harris fails to

demonstrate why Lincoln’s reliance on these opinions over the opinion of Dr.

Maples and the indecisive opinion of Dr. Holt is at all “unreasonable” as either a

practical matter or as a matter of law.
20
   Lincoln also argues that examining the decision under the fourth through sixth steps, Lincoln
did have a conflict of interest, but there was a reasonable basis for the decision (Doc. 40, p. 47-
49). The Court does not reach this step of the Blankenship test, and does not address this
argument.
21
   With respect to the fourth step of the Blankenship test, Mr. Harris argues that Lincoln has a
conflict of interest in that its medical reviewers were employees, and that Lincoln was acting in
its own “self-interest” by not providing Mr. Harris with “the medical reviews which were the
basis of the denial of the claim even [sic] they were relied upon and considered during the course
of the appeal.” (Doc. 51, p. 28-29.) Mr. Harris also argues that: “Lincoln’s decision-making
process demonstrates significant evidence of procedural unreasonableness which justifies the
court giving significant weight to the conflict of interest.” (Doc. 42, p. 11.) The Court does not
reach these arguments which are directed to fourth Blankenship step.
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      Mr. Harris argues that Lincoln’s failed to provide its employee reviewers

with his declaration or Dr. Maples’s opinion. (Doc. 51, p. 21-22.) Mr. Harris’s

argument relies upon an unproven factual assumption that Lincoln did not provide

its reviewers with his declaration or Dr. Maples’s opinion. The failure of Lincoln’s

employees to recite the facts of how Mr. Harris broke his leg, consistent with the

manner he provided in his declaration, see supra n. 16; AR 002597; AR 000170,

did, however, demonstrate a lack of diligence on the part of Lincoln and its

employees to review that declaration. Yet, his declaration could not be construed to

demonstrate persuasive evidence of medical causation worthy of the same weight

afforded to that of a medical professional. Lincoln’s employees’ reliance on the

opinions of Mr. Harris’s medical providers over his own declaration statement was

reasonable. Thus, Mr. Harris’s contention, with regards to his own declaration, has

little bearing on whether Lincoln had reasonable grounds to support its decision.

      Thus, even if the de novo review of Lincoln’s decision demonstrated that

Lincoln’s decision was wrong, other reasonable grounds supported Lincoln’s

decision. Nevertheless, the Court finds that Lincoln’s determination of benefits

was not wrong, but rather it was de novo correct. As such, summary judgment is

due to be granted in Lincoln’s favor and due to be denied in Mr. Harris’s favor on

this claim.




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       B. Mr. Harris’s Claim for Wrongful Withholding of Documents

         The Court analyzes Mr. Harris’s second claim that Lincoln wrongfully

withheld documents related to the Lincoln’s denial of the dismemberment claim.

This claim requires a different standard of review (than the Blankenship test); it is

the classic Federal Rule of Civil Procedure 56 standard, that the Court sets forth

below.

              i. Standard of Review for the Claim of Wrongfully Withholding
                 Documents 22

       “The court shall grant summary judgment if the movant shows that there is

no genuine dispute as to any material fact and the movant is entitled to judgment as

a matter of law.” Fed. R. Civ. P. 56(a). To demonstrate that there is a genuine

dispute as to a material fact, a party must cite “to particular parts of materials in the

record, including depositions, documents, electronically stored information,

affidavits or declarations, stipulations (including those made for purposes of the

motion only), admissions, interrogatory answers, or other materials.” Fed. R. Civ.

P. 56(c)(1)(A). When considering a motion for summary judgment, the Court must

view the evidence in the record in the light most favorable to the non-moving party




22
   The typical summary judgment has been set forth as the standard of review in another case in
this Court that examined a summary judgment motion regarding a claims brought pursuant to 29
U.S.C. §1132(c). See Young v. UnitedHealth Group Life Ins. Plan., No. 2:13-CV-1738-VEH,
2014 WL 5519974, at *1-2 (N.D. Ala. Oct. 31, 2014) (Hopkins, J.).
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and draw reasonable inferences in favor of the non-moving party. White v. Beltram

Edge Tool Supply, Inc., 789 F.3d 1188, 1191 (11th Cir. 2015).

      The filing of cross motions for summary judgment does not alter the Rule 56

standard. See United States v. Oakley, 744 F.2d 1553, 1555–56 (11th Cir. 1984)

(“Cross motions for summary judgment will not, in themselves, warrant the court

in granting summary judgment unless one of the parties is entitled to judgment as a

matter of law on facts that are not genuinely disputed.”).

            ii. Analysis

      Lincoln argues that summary judgment should be granted in its favor on Mr.

Harris’s second claim, because: the claim applies only to plan administrators, and

Lincoln is not the plan administrator; (ii) the claim does not apply to the types of

documents at issue here; and (iii) even if the claim was applicable to Lincoln and

the types of documents at issue, Lincoln acted diligently and in good faith, and its

actions should not be penalized. (Doc. 40, p. 49.)

      Mr. Harris, however, argues that: “(1) Lincoln is designated under the plan

as an administrator with sole authority ‘to establish and enforce procedures to

administer the Policy and claims under it’ and (2) alternatively, Lincoln is clearly a

de facto administrator under the Eleventh Circuit.” (Doc. 51, p. 30.)

      The relevant statute governing Mr. Harris’s claim provides:

      Any administrator . . . who fails or refuses to comply with a request
      for any information which such administrator is required by this

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      subchapter to furnish to a participant or beneficiary (unless such
      failure or refusal results from matters reasonably beyond the control
      of the administrator) by mailing the material requested to the last
      known address of the requesting participant or beneficiary within 30
      days after such request may in the court’s discretion be personally
      liable to such participant or beneficiary in the amount of up to $100 a
      day from the date of such failure or refusal, and the court may in its
      discretion order such other relief as it deems proper.

29 U.S.C. §1132(c). An “administrator” is:

      (i) the person specifically so designated by the terms of the instrument
      under which the plan is operated;

      (ii) if an administrator is not so designated, the plan sponsor; or

      (iii) in the case of a plan for which an administrator is not designated
      and a plan sponsor cannot be identified, such other person as the
      Secretary may by regulation prescribe.

29 U.S.C. §1002(16)(A)(1).

      The Eleventh Circuit has adopted the de facto plan administrator doctrine.

Rosen v. TRW, Inc., 979 F.2d 191, 194-94 (11th Cir. 1992). In Rosen, the Eleventh

Circuit held that: “if a company is administrating the plan, then it can be held liable

for ERISA violations, regardless of the provisions of the plan document.” Id. at

193-194. The Eleventh Circuit, however, declined to apply the doctrine to third-

party claims administrators. Oliver v. Coca-Cola Co., 497 F.3d 1181 (11th Cir.

2007), vacated in part on other grounds, 506 F.3d 1316 (11th Cir. 2007), aff’d in

part and remanded in part, 546 F.3d 1353 (11th Cir. 2008). In Oliver, the Eleventh

Circuit stated that it had rejected application of the doctrine to third-party


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administrative services providers, as opposed to employers. Id. at 1194; see also

Smiley v. Hartford Life & Accident Ins. Co., 610 Fed.App’x 8, 8-9 (11th Cir. 2015)

(“We have consistently rejected the use of the de facto plan administrator doctrine

‘where a plaintiff has sought to hold a third-party administrative services provider

liable, rather than the employer . . . .’” (quoting Oliver, 497 F.3d at 1194)).

      The Polices designate QinetiQ as the plan administrator. AR 000107; AR

000166. Accordingly, QinetiQ is the “the person specifically so designated by the

terms of the instrument under which the plan is operated[,]”29 U.S.C.

§§1002(16)(A)(1)(i), and is the Plan Administrator.

      Mr. Harris argues that the statute applies to Lincoln, because the Policies, in

the sections titled “Company’s Discretionary Authority,” grants “authority to

administer the plan” to Lincoln. (Doc. 51, p. 32.) Mr. Harris’s assertion is a

mischaracterization of the Policies. The Policies grant Lincoln authority to

administer “claims.” Thus, his argument, premised on a misrepresenting the

Policies’ terms, lacks merit.

      Mr. Harris argues that Lincoln is the Plan Administrator, because “[o]nly

Lincoln has the authority to establish and enforce procedures for administering the

policies . . . .” (Doc. 51, p. 32.) Mr. Harris fails to prove or even attempt to

demonstrate the argument’s underlying assumption that “only” Lincoln has this

authority. The Court need not search the record to find evidence to support Mr.


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Harris’s claim for him. Given that the argument is premised on an unproven

assumption, Mr. Harris’s argument lacks persuasive force. Regardless, even if Mr.

Harris had proven this assumption, Section 1002(16)(A)(1) does not define an

“administrator” as someone with sole authority over establishing and enforcing

policy administration procedures.

      Mr. Harris argues that the Summary Plan Description information is

inapplicable because: “The policies are the instruments that govern the operation of

the Plans the [Summary Plan Descriptions]’s expressly state so.” (Doc. 51, p. 32

(citing AR 000107; AR 000166).) The Summary Plan Descriptions state: “This

Summary Plan Description is only intended to provide an outline of the Plan’s

benefits. The Plan Document will govern if there is any discrepancy between the

information contained in this Description and the Plan.” AR 000107; AR 000166.

Mr. Harris fails to identify any discrepancy in the plan documents with regards to

the identification of the Plan Administrator that would make the identification of

QinetiQ as Plan Administrator inapplicable or questionable.

      Mr. Harris also argues that the Summary Plans Descriptions “create an issue

as to whether more than one person has been designated as an administrator . . . .”

(Doc. 51, p. 32-33.) He relies on language in the Summary Plan Descriptions that

state: “The Lincoln National Life Insurance Company has the sole discretionary

authority to determine eligibility and to administer claims in accord with its


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interpretation of the policy provisions on the Plan Administrator’s behalf.” (Id.

(citing AR 000107; AR 000166).) Mr. Harris has not cited any authority for the

proposition that Lincoln’s determination and eligibility and administration of

claims makes Lincoln the Plan Administrator especially in this context where the

Plan Administrator has been designated as QinetiQ. In essence, Mr. Harris is

arguing that this policy language makes Lincoln a de facto plan administrator. But,

that argument fails because Lincoln is not Mr. Harris’s employer and the de facto

plan administrator doctrine only applies to employers. See Oliver, 497 F.3d at

1194.

        Mr. Harris makes another variation of the de facto plan administrator

argument stating that: “Lincoln’s exclusive control over the policies and the

payment of benefits when coupled with its financial responsibility clearly support

the finding that Lincoln is a de facto administrator.” (Doc. 51, p. 34-36; see also

Doc. 51, p. 37 (arguing that QinetiQ is a “nominal administrator”).) This argument

also fails for the same reason that the de facto plan administrator doctrine only

applies to employers. See Oliver, 497 F.3d at 1194.

        Mr. Harris also claims that Oliver supports its position that Lincoln could be

found to be a Plan Administrator in this context. (Doc. 51, p. 36-37.) Mr. Harris

describes the significance of Oliver as follows:

        Significantly, the court reasoned that the activities[, the third-party
        claims administrator,] Broadspire engaged in are activities supporting

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          a finding of de facto administrator status under Hamilton[ v. Allen-
          Bradley Co., 244 F.3d 819 (11th Cir. 2001)] but that Broadspire
          lacked the requisite level of control over the plan to be deemed a de
          factor [sic] administrator.

(Doc.51, p. 37.) Mr. Harris presents the Court with an incorrect proposition of law

and fails to address subsequent applicable legal authority that described this case’s

holding as contrary to the one that Mr. Harris presents. See Smiley, 610 Fed.App’x

at 8-9 (“We have consistently rejected the use of the de facto plan administrator

doctrine ‘where a plaintiff has sought to hold a third-party administrative services

provider liable, rather than the employer . . . .’” (quoting Oliver, 497 F.3d at

1194)). Oliver does not stand for the proposition that a third-party claims

administrator with a certain threshold of control over a plan is deemed a de facto

administrator. See Oliver, 497 F.3d at 1195. 23 On the contrary, the Oliver Court

23
     The Oliver Court stated as follows:

                   Were we to find Broadspire a de facto plan administrator on these facts,
          we would undercut the ability of employers to contract out the administrative
          tasks associated with operating an ERISA plan, a practice we upheld in Baker [v.
          Big Star Div. of the Grand Union Co., 893 F.2d 288 (11th Cir. 1989)]. See id. at
          290. Indeed, it is hard to imagine how an administrative services provider could
          fulfill its functions without engaging in the types of activity that, in Hamilton,
          triggered the application of the de facto administrator doctrine. See Hamilton, 244
          F.3d at 824 (finding that employer was de facto administrator because, inter alia,
          it distributed disability benefit application forms and “field[ed] questions about
          the plan from employees”). The First Circuit, which also recognizes the de facto
          administrator doctrine in some contexts, see Law v. Ernst & Young, 956 F.2d 364,
          372–73 (1st Cir. 1992), has also declined to apply the de facto administrator
          doctrine to a third party administrative services provider in circumstances similar
          to those here. See Terry v. Bayer Corp., 145 F.3d 28, 35 (1st Cir. 1998) (“[W]hen
          the plan administrator retains discretion to decide disputes, a third party service
          provider, such as Northwestern, is not a fiduciary of the plan, and thus not
          amenable to a suit under [ERISA].”) (citations omitted). Because Broadspire is
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held, “where a plaintiff has sought to hold a third-party administrative services

provider liable, rather than the employer, we have rejected the de facto plan

administrator doctrine.” Id. (emphasis in original). The Court explained that

holding a third party administrator to be a de facto plan administrator would

“undercut the ability of employers to contract out the administrative tasks

associated with operating ERISA plan . . . .” Oliver, 497 F.3d at 1195.

       The Court finds that with respect to Mr. Harris’s claim pursuant to 29 U.S.C.

§1132, summary judgment is due to be granted in favor of Lincoln and denied with

respect to Mr. Harris, because the claim should be directed to the Plan

Administrator and Lincoln is not the Plan Administrator or a de facto plan

administrator.




       merely an administrative services provider, and because, under the Plan, Coca–
       Cola, through the Committee—not Broadspire—makes the final decision on
       benefits claims, we are bound by Baker to hold that Coca–Cola is the plan
       administrator. See Baker, 893 F.2d at 289–90.

Oliver, 497 F.3d at 1195 (first bracket added, other brackets in original).
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V.   CONCLUSION

     For the reasons stated above, Lincoln’s Motion for Summary Judgment

(Doc. 12) is DENIED as superseded, Lincoln’s Reformatted Motion for Summary

Judgment (Doc. 40) is GRANTED, and Mr. Harris’s Motion for Summary

Judgment (Doc. 28) is DENIED.



     DONE and ORDERED this February 7, 2019.



                                _________________________________
                                LILES C. BURKE
                                UNITED STATES DISTRICT JUDGE




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